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JUN 20 2019 SP

AT SEATTLE
CLERK U.S. DISTRICT COURT.
BY WESTERN DISTRICT OF WASHINGTON ry

UNITED STATES DISTRICT COURT
WESTERN DISTRIC OF WASHINGTON

 

AT SEATTLE
GENE PALMER,
49 CV 00961
Pladnkite, p O
ov COMPLAINT FOR DAMAGES J

DEMAND FOR JURY
TIENNEY MILNOR, HER HUSBAND

AND THEIR MARITAL COMMUNITY,
MELANIE TRATNIK, HER HUSBAND
AND THEIR MARITAL COMMUNITY,
STATE OF WASHINGTON, OFFICE OF
ATTORNEY GENERAL, DEPARTMENT
OF LABOR AND INDUSTRIES,
LABORERS’ INTERNATIONAL

UNION OF NORTH AMERICA

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LOCAL 292, AND DISTRICT COUNCIL
OF LABORERS WASHINGTON AND
NORTHERN IDAHO

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Defendants.

 
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I. PARTIES

1.1 Plaintiff Gene Palmer is a resident of Washington.

1.2 Tienney Milnor, her husband and marital property, are
residents of the State of Washington, and she is an
Attorney at the Washington State Office of Attorney
General representing the Department of Labor and
Industries, and she knew or reasonably should have
known that the acts or omissions herein complained of
violate the law and my rights.

1.3 Melanie Tratnik, her husband and marital property are
residents of the State of Washington, and she is an
Attorney at the Washington State Officer of Attorney
General representing the Department of Labor and
Industries, and she is Attorney Tienney Milnor’s
supervisor, and she knew or reasonably should have
known that the acts or omissions herein complained of
violate the law and my rights.

1.4 The office of Attorney General is a department within
the government of the state of Washington.

1.5 The department of labor and industries is a department
within the government of the state of Washington.

1.6 LABORERS’ INTERNATIONAL UNION OF NORTH AMERICA
LOCAL 292 is located in the state of Washington.
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1.7 DISTRICT COUNCILOF LABORERS WASHINGTON AND NORTHERN

IDAHO is located in Washington.

1.7 All acts of individual defendants were committed on or

behalf of their marital community.

II. Jurisdiction

2.1 Jurisdiction and venue is proper in the Western

District Court of Washington pursuant to 42 USC 1983;

28 USC 1343 (1)(3); and 28 USC 1367 (a).

III. Facts and Claims

The crux of the matter is that Snohomish County’s

involvement to pursue and collect on L and I claims against

Mr. Palmer and his general bankruptcy and ruination of his

credit violate the bankruptcy stay and discharge and such

activities and his constitutional rights.

The debt that L and
County Superior
already earlier
barred by the

double jeopardy

I was collecting on through Snohomish
Court was for an L and I liability
discharged in my bankruptcy and also
US Constitution prohibition against

because it was already litigated and
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dismissed with prejudice in Seattle Municipal Court in

2006 and I was released from jail 4 hours later.

Bankruptcy Judge Glover converted my Chapter 13 to a
Chapter 7 and discharged my debts, including this one. Then
the State of Washington simply moved north and brought the
L&I claim again in Snohomish County Superior Court without

informing the court of the prior dismissal with prejudice.

Snohomish County arrested me they broke my jaw in
three places and put me in solitary confinement for three
months until I could get a phone call out to a federal
judge: the Honorable Karen Overstreet, who immediately got
me released, as this has already been discharged. I do not
want to die at the hands of the shent re and jailer over

$18,000 that was already discharged in bankruptcy.

These are the additional documents that were
intentionally withheld by the Attorney General’s Office not
only from this bankruptcy case but also from the Snohomish
County criminal case which was the basis of this adversary
proceeding. This is about L and I seeking restitution on
the charge of False Reporting regarding an overpayment. The

L and I case was brought in Seattle Municipal Court, City

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of Seattle v. Gene Palmer X277763 and X563970, and was
dismissed on 5/25/06 with prejudice, the court no longer
having any jurisdiction, as ruled therein. On Christmas
Eve, 2007, I was yanked out of my car at gun point and
placed in jail by the Snohomish County Prosecutor’s office
and charged with the same charge as in the dismissed L and
I restitution case. This had already been dismissed with
prejudice on 5/25/2006. This nightmare started after my
bankruptcy was filed and in violation of the automatic
stay.

The State of Washington and Snohomish County should be
determined to be liable for damages to me, because the
underlying Snohomish County case is void, contrary to my
constitutional protections against double jeopardy, and in

violation of the automatic stay.

L & I was discharged twice with J. Glover, chapter 13

converted to 7 And with J. Overstreet.

Judge Glover made L & I give back all the money in the

first bankruptcy.

I am grandfathered in from Judge Glover’s discharge and

Judge Overstreet’s discharge.
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Snohomish County does not have the authority to alter or
change or overrule the other judge’s final decisions in
Seattle Municipal Court and Bankruptcy Court that were

never timely or otherwise appealed by L & I.

L & I took $2,700 of social security from me by garnishing
it contrary to bankruptcy discharge and this must be

returned.

I have a claim against L&I for interfering with my union
years ago to get me fired from jobs and I have claims
against L&I for interfering with Snohomish jail to have me

put in isolation.

I filed a Chapter 13 under case 08-10112, and I identified
Labor and Industries as a claimant in this case. I
subsequently obtained a Chapter 13 discharge, and
notice of this discharge was mailed to the Washington
Department of Labor and Industries. I contend that any
monies owed to the Washington Department of Labor and
Industries is discharged if incurred prior to the

commencement of my bankruptcy Plan.
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I was out on a job when my employer informed me that
I needed to go to pay my union dues. So I went to Everett
to pay these dues, after paying my dues the secretary,
Jaime Clark, gave me a copy of a business card for Labor &
Industries for Francis Leaman. [See Exhibit D for L&I Union
documents involved]. I asked what this was about, she told
me that I might want to contact them since he said I was
collecting Labor and Industries and working at the same
time, when I wasn’t. I told Jaime that my paychecks go
directly to the bankruptcy court every Friday and they take
out their fees and then every Monday I pick up what is
left. I was cut off of Labor and Industries back when I
went to jail in December 2003, and I haven’t gotten any

checks from them since.

On the following Monday I was scheduled to take my
flagger’s recertification class in Kingston, WA. Around
noon that day one of the secretaries came and found me and
told me that the president of the union wanted to see me in
his office. When I arrived in his office, I was asked by
two deputy sheriffs if I knew who Francis Leaman is. I told
them that it did not ring a bell. They had him in the back

of their patrol car, because he had approached one of the
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secretaries with a phony subpoena signed by a _e state
employee. He was trying to obtain all my employment records
from the training center. Mr. Leaman was not aware that the
woman’s husband is a judge, and she knew the difference
between a warrant and a subpoena. This bogus subpoena was
signed by only a state employee [was not signed by an
attorney or a judge, or a court clerk.] She called 911, and
the police came and investigated. In order to obtain a
warrant you need to have probable cause and have it signed
by a judge. Mr. Leaman didn’t have the authority to get my
records. After this, he tried to pass on this subpoena to
the Local in Everett and they fell for it, gave him all my
information, and it was signed by abank employee. He went
from Kingston to Everett to get the Union to collude with

him; he continued calling on regular basis.

Mr. Leaman tried the same thing at Local 292, my union, and
they were not aware of the situation and gave up my private
information without a warrant. That violates my 4th
Amendment right to illegal search and = seizure. Dan
Kristofferson (union representative) was calling Mr. Leaman
and informing him where I would be working on that day. Dan
Kristofferson told the federal investigator (see below)

that, Secretary Jamie Clark of the Union was the one
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calling L&I, but she had nothing to do with it. The
criminal complaint in the L&I theft case states that Leaman
received the call from Dan at 9:00 in the morning after I
was sent out on a job by dispatch & would do this every
time I was sent out, saying I was out working. They worked
together to send me out on jobs to prove I was working and
then get me fired daily. Dan and the union went so far as
to even give me $20 for gas and lunch to go to a job site

because he knew I did not have it as I was not working.

Because I was being harassed by this man from Labor and
Industries who would show up at my jobsite, I was
continually told that I wasn’t eligible for rehire.
Whenever he showed up, he would tell my employer I was
collecting welfare and working at the same time; at end of
day, I called into office and was informed they no longer
needed my services, and to report back to my local union;
they forwarded a letter to the union that I am not eligible
for rehire because I was voluntarily giving out personal
information, they caused me to be terminated. Department of
Mr. Leaman and Kristofferson conspired to violate my
constitutional protection under color of law with criminal
intent and clear violation of the bankruptcy automatic

stay. This case since day one has been nothing but
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trickery, identity theft, retaliation and harassment. And
finally, once and for all, the federal courts are going to
put a stop to the state’s attorney general from harassing
me and my family.

So I was working one day and I was arrested on a
warrant allegedly for first degree theft for allegedly
working while receiving government benefits and I was taken
to Snohomish County Jail. I complained to my bankruptcy
judge that someone was showing up at my jobsites harassing
me about collecting both welfare and working at the same
time, so they knew that I was not doing it, we knew I was
the victim of identity theft, but did not know who was

responsible for it.

After being arrested I finally got a call out to my
brother, who contacted the bankruptcy trustee, who had me
released within two hours, since she knew that I was not

collecting double benefits.

My bankruptcy case trustee was supposed to be sharing
information with the state government showing that my
income checks were going to the bankruptcy court first for
payment of creditors before coming to me, knowing that I

was not collecting welfare benefits as well. The

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prosecutor’s office eventually sent the case to the
Attorney General’s office to handle for Lél.

Then L&I came at me with an Alford plea offer
that they would drop the charges down from first degree
theft to false reporting. This prosecutor knew that she did
not have a case. On October 27, 2010 this Alford plea (
where I do not agree that I violated any law but plea to
take advantage of the prosecution’s favorable offer of
absolutely no restitution, end of the case, no additional
jail time, and only a misdemeanor of False Information to
resolve all this was all completed in open court, except
that at time, I did not have documentation with me showing
L&I discharge and bankruptcy and in any case I did not owe
restitution because the plea accepted by the judge on
October 27, 2010 was an Alford plea specifically stating
that there was no restitution. After all parties agreed,
after leaving court room, I contacted Chapter 13 trustee
explaining what happened. She forwarded info to Judge
Casselberry’s assistant that BECU had already paid back
L&I. Judge Casselberry pondered over it for a few days. And
exactly 5 days later, he signed off on my plea agreement
that there would be no restitution order. He signed on
November 1, 2010, but it was filed on November 2, 2010.

This is really important: see Statement of Defendant on

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Plea of Guilty with Judge’s signature 5 pages from the end
of the document dated 11/1/10. The deal with the prosecutor
was that there would be no restitution whatsoever. There
was no restitution and the State of Washington had to pay
ME back. The Department of Social and Health Services took
$2,712 of my SSA benefits from me. This money was supposed
to be paid back to me as per the plea agreement, though I
have never seen any of it. The Department of Labor and
Industries owes me $18,658.20 which needs to be returned
with interest.

Unfortunately, the Snohomish County Superior Court
Clerk’s Office erred and failed to strike the restitution
hearing that the court had set on October 27, 2010 at the
plea hearing, contrary to the court order of 11/1/10 that
there was no restitution owing. I then received a notice
from the clerk’s office that I was behind on my restitution
payments. I informed them that I do not have any
restitution or parole, and all this was discharged in my
bankruptcy and none ordered. Two years later, I received a
notice saying that I have to show up in Snohomish County
before the judge. I tried to explain to the judge that the
federal courts had already discharged this, and that he has

no jurisdiction over the federal court’s decision.

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Defendants reported the false L and I debt to
Equifax and/or Transunion and/or Experian and this defamed
me and harmed my credit.

Tienney Milnor, WA Asst.AG, is liable for
harassment, trickery, and slander. She and Labor and
Industries acted in conspiracy with my union and employers
making a very gross violation of my constitutional rights
and protections with malice and must be sanctioned. She
told the Snohomish County Superior Court she would not
follow the bankruptcy discharge and represented to the
court that I refused to pay restitution when I was in 100%
compliance with the federal bankruptcy court monthly
payments. The Snohomish County clerk’s office restitution
department told me that they would not honor the federal
bankruptcy discharge because the only discharge order they
had received did not have a judge’s signature on it, but
instead was typed in, as is the practice in bankruptcy
court per court rule. She said that anyone can get on a
computer and get something that looks like a bankruptcy
court order. I called my bankruptcy Trustee and had her
call the court to confirm that this truly indeed had been
given a discharge. The Trustee called me back and told me
that the best way to solve this problem is for me to come

back to Seattle and I hand-delivered it to the Washington

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State AG office in Seattle. They still did not call off the
dogs and snubbed their nose at a certified US Western

District of WA bankruptcy court order.

L&I’s and the union’s entrapment and sting illegally
setting me up for a job and then going out that day and
documenting it and then getting me fired that day by
defaming me with the employer and telling them that I was
taking L&I and working at the same time at a job they
colluded with my union solely to have me employed and
immediately fired, completely obstructed my bankruptcy case
and any chance for me to recover from bankruptcy with good
employment, credit, work history, and without a criminal
record for their collusion - their actions together by WA
state and my union ruined all of these things and
undermined the whole purpose of bankruptcy laws. I have
been dragged through the mud and incurred many thousands in
expenses and ruination of all the above. I suffered jail
for 6 days and then again later for 20 days, and later
again, the State with the assistance of my union have

caused all of this illegally and vindictively.

During my bankruptcy automatic stay, state employees
continually issued summons that were not authorized by a

judge and warrants that never issued by a judge. I was
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continually harassed by the Snohomish County Prosecutor’s
Office.

The L&I investigator alleged that I gave false
information to my doctor about my ability to work. However,
the doctor knew that I was really injured: my jaw had been
broken in three places and I had a fractured rib. However,
because I did not receive any money from the L&I-run crime
victims program, I was forced to go back to work injured.
Additionally, L&I violated the automatic stay in my
bankruptcy case by continuing to meddle with my employers
and show up at job sites in attempts to get me fired so I
could not be employed and then I would fail to make my
bankruptcy payments to complete my case and follow the

judge orders.

Case Law Regarding the Above Violations of My Rights

Tower v. Glover, 467 US 914, 81 LE2d 758, 104 SCt 2820
(1984) - Public defenders held not immune from liability in
a 1983 action alleging conspiracy with state officials to
deprive clients of federal rights. Here, Defendants MILNOR
and MELANIE TRATNIK conspired with L and I to deprive me of

my rights.

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Stokes v. Delcambre, 710 F2d 1120 (5t8 Cir. 1984) -
Supervisory personnel are subject to liability where
evidence established that they authorized or approved
unconstitutional conduct of the offending officers. Here,
Defendant MELANIE TRATNIK is liable for the acts of
supervised Milnor.

White v. Farrier, 849 F2d 322 (8t® Cir 1988) - Supervisory
officers can be held liable under respondeat superior
theory if they fail to train or control subordinates who

cause inmate's injury.

Cameron v. IRS, 773 F2d 126 (1985) - The Attorney General

and IRS agents do not have absolute immunity.

Hill v. Shelander, 924 F2d 1370 (7t8 Cir. 1991) - Punitive
damages may be recovered against government

Freedom from malicious prosecution is a federal right

protected by sec. 1983

McIntosh v. Ark. Republican Committee, 816 F2d 409 (8 Cir.

1984) - State troopers, who did not have probable cause to

arrest plaintiff, were not entitled to qualified immunity

from liability in civil rights action based on false

arrest. Malley is similar.

Malley v. Briggs, 475 US 335, 89 LEd2?d 271, 106 SCt 10592

(1986)

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Here, the WA State AGs involved had knowledge of facts and
evidence prohibiting their charges and should have
disclosed same to the courts and Palmer.
Brady Violation:

Williams v. Whitley, 940 F2d 132 (5t® Cir. 1993) -
Prosecution is deemed to have knowledge of information
readily available to it, and failure to provide that
information, when exculpatory and when requested by
defendant, is a violation of the Brady Rule.
US v. Aichele, 941 F2d 761 (9t8 Cir. 1991) - To escape Brady
sanction disclosure must be made at time when disclosure
would be of value to accused.
US v. Rossey, 952 F2d 321 (7% Cir. 1992) - Evidence is
"material" under Brady if there is reasonable probability
that, had evidence been disclosed to defense, result of
proceeding would have been different.

Here, the WA State AGs involved had knowledge of
facts and evidence prohibiting their charges and should

have disclosed same to the courts and Palmer.

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Civil Rights:
Bushnell v.. Rossetti, 750 F2d 298 (4th Cir. 1984) -
Government prosecutorial power may not be used either to
exact releases of related civil rights claims or to
retaliate for civil prosecution of such claims.
Moore v. Market Place Restaurant Inc., 754 F2d 1336 (7t5
Cir. 1985) - In order to recover under Section 1983,
plaintiff must establish two things: deprivation of rights
secured by federal law or the Constitution, and action by
defendant under the color of state law.
Franklin v. Aycock, 795 F2d 1253 (6t8 Cir. 1986) - Beating
of inmate violated inmate's constitutional rights and was
actionable under federal. civil. rights law.
Meriwether v. Coughlin, 879 F2d 1037 (2"4 Cir. 1989) -
Supervisor liability may be imposed under 1983 when an
official has actual or constructive notice of
unconstitutional practices and demonstrates "gross
negligence" or "deliberate indifference" by failing to act.
Sanders v. English, 950 F2d 1152 (5t® Cir. 1992) - False
arrest, illegal detention (false imprisonment) and
malicious prosecution are recognized as causes of action
under 1983.

All of these cases are called into play here.

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Conspiracy:
US v. Clark, 732 F2d 1536 (11th Cir. 1984) - A defendant may
be found guilty of conspiracy even if he or she did not
join it until after its inception, and even if it shows an
unlawful agreement, knowledge of agreement, and their
voluntary cooperation in illegal venture.
Hobson v. Wilson, 737 F2d 1 (D.C. Cir 1984) - A civil
"Conspiracy" is an agreement between two or more people to

participate in an unlawful act in an unlawful manner

Union Damages and Immediate Reinstatement With All Past
Benefits Restored

I request that the court order Washington and Northern
Idaho District Council (P.O. Box 12917 Mill Creek, WA
98082-0917) and Local 292 to immediately reinstate for me
all union privileges and restore all retirement benefits I
would have received for full time employment and overtime
since 4/2/07 ( the date the union told me last week that I
was officially thrown out as a union member) and pay a
judgment for all my attorney fees associated with union
issues , pain and suffering, emotional distress and all
other possible damages under any law or court rule, and
joint and several with the State of Washington or at least

one half of all damages herein with the State of Washington

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Department of Labor and Industries paying the other one

half, for all the reasons stated above.

Vacate Criminal Case

I request that the court order the State of WA, AG
Department and L and I Department immediately vacate the
conviction for False Information and dismiss the case with
prejudice in Snohomish County Superior court Cause number

O7-1-00525-5.

Plaintiff was directly and indirectly damaged by the above

actions and inactions.

Plaintiff reserves the right to amend this complaint as new

information is discovered.

First Cause of Action: Negligence

Defendant’s actions and inactions constitute negligence.

Second Cause of Action: Defamation

Defendant’s actions and inactions constitute defamation.

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Third Cause of Action: Intentional Infliction of Emotional

Distress

Defendant’s actions and inactions constitute intentional

infliction of emotional distress.

Fourth Case of Action: Outrage

Defendant’s actions and inactions constitute outrage.

Fifth Cause of Action: Civil Rights Violation

Defendant’s actions and inactions constitute a violation

of the plaintiff’s civil rights, including that of

privacy, under 42 United States Code 1983.

Relief REQUESTED

Plaintiff requests the following relief to be decided by a

jury, so demanded here in joint and several liability

of all Defendants:

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Compensatory damages in an amount to be proven at trial by

jury.
Punitive damages pursuant to 42 USC 1983.

Attorneys fees and costs pursuant to 42 USC 1988 and all
applicable state and federal laws and case law and

equity.

For such other and further relief as the Court deems just

and equitable.

DATED THIS 20th day of June, 2019

Wachee at.

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Ellensburg, WA 98926
Phone: 206-335-7337

 

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